CM/ECF-GA Northern District Court                                          https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?830562118871527-L...
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                                           UNITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF GEORGIA
                                                 ATLANTA DIVISION
                                                         1:17-cr-00224-AT-CMS
                                                         USA v. Pendergrass et al
                                                      Honorable Catherine M. Salinas

                                          Minute Sheet for proceedings held In Open Court on 07/01/2019.


               TIME COURT COMMENCED: 2:03 P.M.
               TIME COURT CONCLUDED: 2:14 P.M.                           TAPE NUMBER: FTR
               TIME IN COURT: 00:11                                      DEPUTY CLERK: Angela Smith
               OFFICE LOCATION: Atlanta

        DEFENDANT(S):         [1]Allen J. Pendergrass NOT Present at proceedings
        ATTORNEY(S) PRESENT: Jeffrey Brown representing USA
                             Saraliene Durrett representing Allen J. Pendergrass
                             Teresa Stolze representing USA
        PROCEEDING CATEGORY: Pretrial Conference;
        MOTIONS RULED ON:    DFT#1-[90]Motion to Dismiss/Speedy Trial TAKEN UNDER ADVISEMENT
        MINUTE TEXT:         Attorney Saraliene Durrett appeared by phone.
        EXCLUDABLE DELAY:    The parties shall have until 8/1/19 to file any additional motions. This extension is necessary
                             for effective preparation. The delay occasioned by this extension shall be considered a period
                             of excludable delay pursuant to 18 U.S.C.§3161(h)(7)(A) because the court found it needed
                             to allow reasonable time for preparation and also found that the ends of justice served
                             thereby outweigh the interests of the public and the defendant in a speedy trial.
        ADDL HEARING(S)
                             Pretrial Conference set for August 7, 2019 at 9:30 a.m. in Courtroom 1810;
        SCHEDULED:




                                                                                                                               7/1/2019 3:45 PM
